
73 N.Y.2d 738 (1988)
Burns Electric Co., Inc., Respondent,
v.
Walton Street Associates, Appellant.
Court of Appeals of the State of New York.
Argued October 18, 1988.
Decided November 17, 1988.
Donald J. Kemple for appellant.
Verne F. O'Dell for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE and BELLACOSA. Taking no part: Judge HANCOCK, JR.
Order affirmed, with costs, for the reasons stated in the opinion by Justice John F. Lawton at the Appellate Division (136 AD2d 291).
